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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

UNITED STATES OF AMERICA, ex
rel. HENRY B. HELLER,

                  Plaintiff,                  Civil Action File No.:

v.                                             1:18-cv-03728-SDG

GUARDIAN PHARMACY OF
ATLANTA, LLC.

                  Defendant.



            MEMORANDUM IN SUPPORT OF RELATOR’S
           MOTION FOR PARTIAL SUMMARY JUDGMENT
            ON COUNT I OF THE AMENDED COMPLAINT
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                                INTRODUCTION
      After a contentious discovery period, this case is fairly simple.

      The Anti-Kickback Statute (“AKS”) prohibits any person from offering or
providing free or below fair market value services (i.e., “remuneration”) to induce
someone to refer, arrange for, or recommend that a patient purchase an item or

service covered by a federal health care program. 42 U.S.C. § 1320a-7b(b)(2)(A),
(B). Remuneration is defined broadly to include anything of value, whether offered
or paid directly or indirectly, overtly or covertly, in cash or in kind. 42 U.S.C. §

1320a-7b(b)(2); ECF 63 at 17. Seeking payment from Medicare or TRICARE for
claims resulting from an unlawful kickback scheme constitutes a False Claims Act
(“FCA”) violation, as a matter of law. 31 U.S.C. § 3729; 42 U.S.C. § 1320a-7b(g).

      Against this legal framework, it is undisputed in the record that Guardian
Pharmacy of Atlanta, LLC (“Guardian”) offered and provided free and discounted
services to 80 Assisted Living Communities (“ALCs”) and Personal Care Homes

(“PCHs”) (collectively, “Communities”) to induce referrals, arrangements, and
recommendations from those Communities. In particular:
     (a) From 2014 through June 30, 2019,1 Guardian offered and provided free
         quarterly pharmacy consulting services to 80 Communities. Guardian’s
         contracts literally say “                        .” Guardian offered and
         provided the quarterly consulting services so that the Communities could

1
  Relator seeks partial summary judgment on a subset of claims Guardian submitted
to Medicare and TRICARE from January 1, 2014 to June 30, 2019 because that is
the time frame of claims data provided by Guardian. Guardian’s unlawful conduct
has continued beyond June 30, 2019 and into the present. Relator reserves the right
to pursue post- June 30, 2019 damages in future proceedings.

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         satisfy medication-management requirements for their state licenses.
    (b) From 2014 through January of 2018, Guardian also offered and provided
        free/discounted Certified Medication Aid (“CMA”) and Proxy Caregiver
        (“PC”) training and education classes and skills checks to staff of at least
        36 of those same Communities. Guardian provided these free classes to
        all new Communities signing a contract with Guardian and to existing
        Communities with new licensure. Guardian sent regular email invitations
        to Communities announcing the classes—the emails literally state that the
        Communities are “exempt” from charges and can attend at “no charge.”
    (c) From 2014 through June 30, 2019, Guardian offered and provided free
        medication carts and laptops to at least 33 of those same Communities.
        Guardian’s contracts with Communities literally say “
                 .” Guardian “loaned” the carts and computers for free, so the
        ALCs and PCHs did not have to purchase them.
     Guardian’s kickback scheme was brazen—and successful. At least 80

Communities received unlawful inducements, and they:
    (a) Designated Guardian as their “preferred pharmacy” either orally or in
        writing and agreed to use their “       ” to support Guardian servicing
        their residents.
    (b) Told residents, in writing and orally, that Guardian was the “preferred
        pharmacy” at their Community, and often told them that it was unsafe to
        use other pharmacies.
    (c) Provided all their existing and new residents with Guardian’s standard
        “Resident Welcome Information” packet and brochures, and exclusively
        recommended Guardian to their residents—no other pharmacy.
    (d) Penalized residents or charged additional fees at certain Communities for
        using a pharmacy other than Guardian.
The result: Communities over the years have referred, arranged for, and
recommended thousands of residents to use only Guardian and no other pharmacy.
Those residents followed their Communities’ recommendations and signed



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agreements with Guardian.
      Guardian’s consulting staff (internally referred to as the “sales team”)

monitored the number of residents who signed up with Guardian on a Community-
by-Community basis and pressured the Communities to increase their referrals and
recommendations. Guardian told the Communities that they needed to have a

majority or super-majority of residents (typically 70-80%) sign up with Guardian to
maintain free services. If this percentage—referred to by Guardian as its “penetration
rate” or “adoption rate”—fell below a certain rate (i.e., if not enough residents were

successfully referred to Guardian), then Guardian withheld its free services and
charged the Community the “full rate” for quarterly consulting and other services.
      Even worse, Guardian knew its conduct was illegal. Guardian’s own written

agreements with the Communities




President Matthew Hopp nevertheless negotiated and signed these agreements
dozens of times, offering quarterly consulting “                                    .”

Guardian’s parent company even admitted that Guardian “should be charging” for
these services and that providing these free services to Communities “[f]or the




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purpose of inducing would be a kickback.”2
        This is a textbook kickback scheme in violation of the AKS and FCA.

Guardian’s violative conduct taints thousands of Medicare and TRICARE claims
submitted by Guardian for prescription drugs provided to residents referred by these
Communities. At this time, Relator seeks summary judgment only as to this small

subset of 80 Communities. The single damages under a simple application of FCA
and AKS case law exceed $16 million and are over $48 million when trebled. A
penalty for each false claim is also mandatory.

        In support of this Motion, Relator has submitted summary charts pursuant to
Fed. R. Evid. 1006 to prove Guardian’s unlawful inducements for all 80
Communities,3 and to prove the damages that Medicare and TRICARE sustained

because of Guardian’s false claims for payment.4 On these undisputed material facts,
Relator is entitled to summary judgment on Count I of the Amended Complaint.



2
  The pharmacy industry has also known this conduct was illegal since at least 2009,
when Guardian’s competitor (Omnicare Inc.) paid a $98 million settlement to
resolve AKS and FCA allegations, including using free pharmacy consulting
services to induce referrals. After that settlement, Guardian’s own legal counsel
published a Client Alert, stating that the settlement “sends a signal to the industry
that pricing for pharmacy consultant services will be subject to greater scrutiny under
the anti-kickback statute[,]” and the case “should serve as a catalyst” for pharmacy
providers to “to ensure that pharmacy consultant services are being provided on a
fair market basis and without regard to the referrals generated by the nursing homes.”
Relator’s Statement of Undisputed Material Facts (“SMF”) at ¶¶ 91–92.
3
    SMF at ¶¶ 9–13, 35–39, 54 (citing Declaration of Joseph M. Callow, Jr.).
4
    SMF at ¶¶ 7, 97–98 (citing Declaration of Lynn M. Adam).

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I.    LEGAL FRAMEWORK

      A.     Summary Judgment Standard
      Summary judgment is appropriate when “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56(a); Person v. Tech. Educ. Servs., 542 F. Supp. 3d
1355, 1362 (N.D. Ga. 2021) (Grimberg, J.).

      B.     False Claims Act Liability
      As this Court observed, the FCA “is the primary law on which the federal
Government relies to recover losses caused by fraud.” ECF 63 at 12 (quoting McNutt
ex rel. United States v. Haleyville Med. Supplies, Inc., 423 F.3d 1256, 1259 (11th
Cir. 2005)). Here, Guardian’s claims for prescriptions submitted to Medicare and
TRICARE for residents of Communities that received Guardian’s kickbacks were
false claims because they resulted from Guardian’s violations of the AKS. “Since
noncompliance with the AKS ‘is a bar to the receipt of Medicare payments,’ a
violation ‘can form the basis of liability under the [FCA] for past Medicare payments
attributable to the violations.’” ECF 63 at 14 (quoting Bingham v. HCA, 783 F.

App’x 868, 871 (11th Cir. 2019)).
      Count I of the Amended Complaint asserts a presentment claim under 31
U.S.C. § 3729(a)(1)(A), which imposes liability on any person who “knowingly

presents, or causes to be presented, a false or fraudulent claim for payment or
approval.” A “relator must prove three elements: (1) a false or fraudulent claim, (2)
which was presented, or caused to be presented, for payment or approval, (3) with


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the knowledge that the claim was false.” United States ex rel. Phalp v. Lincare
Holdings, 857 F.3d 1148, 1154 (11th Cir. 2017). Additionally, materiality must be

demonstrated when the complaint alleges that a claim was “false or fraudulent”
because the defendant implicitly certified compliance with a material legal
requirement and failed to disclose its noncompliance. See Universal Health Servs.,

Inc. v. United States ex rel. Escobar, 579 U.S. 176, 189 (2016).
      Thus, the elements of Relator’s FCA cause of action under Count I are falsity,
materiality, presentment of a claim for payment, and knowledge.

      C.    Anti-Kickback Statute Liability
      The elements of falsity and materiality depend in this case upon evidence that
Guardian submitted claims that included prescription drugs “resulting from” AKS
violations. 42 U.S.C. § 1320a-7b(g) (a “claim that includes items or services
resulting from a violation of [the AKS] constitutes a false or fraudulent claim for
purposes of [the FCA].”). Thus, the elements of an AKS violation, and the link to
false claims, are embedded in the issues of falsity and materiality under the FCA.

The AKS makes it a felony offense for anyone who:
      [K]nowingly and willfully offers or pays any remuneration (including
      any kickback, bribe, or rebate) directly or indirectly, overtly or covertly,
      in cash or in kind to any person to induce such person-
      (A) to refer an individual to a person for the furnishing or arranging for
      the furnishing of any item or service for which payment may be made
      in whole or in part under a Federal health care program, or
      (B) to . . . arrange for or recommend purchasing . . . any . . . service,
      or item for which payment may be made . . . under a Federal health care
      program[.]


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42 U.S.C. § 1320a-7b(b)(2) (emphasis added). As applied here, the elements of an
AKS violation are (1) scienter; (2) an offer or payment of “remuneration”; (3) “to

induce” a person to either refer a patient for an item or service, arrange for an item
or service, or recommend purchasing an item or service; and (4) the item or service
is paid for in part by a federal health care program. See id.; cf. United States ex rel.

Mastej v. Health Mgmt. Assocs., Inc., 591 F. App’x 693 (11th Cir. 2014).
      The AKS “broadly forbids kickbacks, bribes, and rebates in the administration
of government healthcare programs.” Carrel v. AIDS Healthcare Found, Inc., 898

F.3d 1267, 1272 (11th Cir. 2018). The statute exists to control federal costs and to
protect federal program beneficiaries from conflicts of interest involving anyone
who may influence a patient’s choices about health care services. See United States

v. Howard, 28 F.4th 180, 206 (11th Cir. 2022) (affirming convictions for paying for
patient referrals). “Anti-kickback laws exist to prevent the perversion of incentives,
to ensure that actors, such as those in the health field, act for the proper reasons, to
avoid a conflict of interest when it comes to the exercise of medical judgment.” Id.
at 206. It does not matter whether the services provided are medically necessary or
are appropriately provided. By prohibiting perverse financial incentives, the AKS

protects patients from recommendations that “might be clouded by improper
financial considerations.” United States v. Patel, 778 F.3d 607, 612 (7th Cir. 2015)
(affirming criminal AKS conviction).




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II.   UNCONTROVERTED MATERIAL FACTS
      Guardian is a long-term care pharmacy that fills about 68,000 prescription

medication orders monthly for over 4,000 patients, most being Medicare
beneficiaries, who reside in roughly 130 Communities throughout north Georgia.
SMF at ¶ 2. Guardian generally does not market to the public for business; Guardian

gains access to residents via the Communities themselves. See id. at ¶¶ 60–63.
      As outlined more fully below, from 2014 through June 30, 2019, Guardian
offered and provided to 80 Communities: (a) free quarterly pharmacy consulting

services, (b) free and discounted CMA and PC training, education classes, and skills
checks, and (c) free medication carts and laptops. Id. at ¶¶ 3, 8–59. The Communities
designated Guardian as their “preferred pharmacy” (or “preferred provider”) and, in

fact, referred, arranged for, or recommended their residents to fill their prescriptions
exclusively with Guardian. Id. at ¶¶ 5, 60–81. The undisputed facts prove that
Guardian knew offering these free services to Communities to induce referrals was
unlawful, but nevertheless continued its kickback scheme and knowingly billed the
Government for the resulting prescriptions. Id. at ¶¶ 6–7, 82–98.

      A.     Guardian Offered and Provided Free Services to Communities

             1.     Free Quarterly Pharmacy Consulting Services
      From January 1, 2014 to June 30, 2019, Guardian offered and provided free
quarterly consulting services to 80 Communities. Id. at ¶ 8. Onsite consulting by a
pharmacist or nurse is an essential service that assists a Community in satisfying its



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duties under Georgia law to document drug administration, storage, and disposal.5
For at least 39 of the 80 Communities, Guardian executed a Pharmaceutical Products

and Services Agreement (“Services Agreement”). Id. at ¶ 10. The Services
Agreement contains


                                                         Id. at ¶ 11. For example:

    Community Name           Dates of Service        Price for Consulting




5
  See, e.g., Ga. Comp. R. & Regs. 111-8-63-.20(11)-(12) (assisted living
communities); Ga. Comp. R. & Regs. 111-8-62-.20(7)-(8) (personal care homes).

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Id. at ¶¶ 10–11.6 In addition, Guardian provided free consulting to 41 additional

Communities and likewise produced no evidence that any of these Communities
were charged for quarterly consulting services. Id. at ¶ 12. For example:

    Community Name                 Dates of Service




6
  This list of 20 is exemplary. The complete list of 39 Communities is contained in
a Rule 1006 Summary. SMF at ¶¶ 9–10 (Callow Decl., Ex. A).


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Id.7 To be clear, several communities paid Guardian for quarterly consulting
services, and there are documents reflecting payment for quarterly consulting

services by those communities—but not for these 80 Communities. Id. at ¶¶ 13–14.
      The provision of free quarterly consulting services was not a secret. Lori
Newcomb, Guardian’s Head Pharmacist Consultant, repeatedly told Communities

and third parties about free quarterly consulting services:

       “We actually do not charge for quarterly consulting at this time.” Id. at
        ¶ 15 (quoting Newcomb Dep., Ex. 15) (emphasis added);

       “Currently, there is no charge for consulting. I visit quarterly for both
        communities and provide a report of the review of residents, as required
        by Georgia [Assisted Living] regulations.” Id. (quoting Newcomb Dep.,
        Ex. 30) (emphasis added);

       “Marketing points to remember: [Assisted Living] buildings get high
        quality consulting for free every quarter, even though this is required
        by [Assisted Living] rules. . . . [Personal Care Homes] buildings get high
        quality consulting for free every quarter, even though not required by
        rules.” Id. (quoting Newcomb Dep., Ex. 32) (emphasis added);

       “We provide a very comprehensive consulting visit, as required by
        [Assisted Living] regulations. We do not charge for this service and
        would like to continue to provide this as a service to our clients.” Id.
        (quoting Newcomb Dep., Ex. 33) (emphasis added);

       “For AL licensed buildings, we do a quarterly visit which is required by
        regs with medication review for each resident by the RPh. If a resident
        does not use Guardian, we charge $20 for a review. At that visit, we do a
        cart audit and random medication observations. All of that, with the


7
  This list of 20 is exemplary. The complete list of 41 Communities is contained in
a Rule 1006 Summary. SMF at ¶ 12 (Callow Decl., Ex. B.)

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           exception of the non-guardian client reviews, is at no charge.” Id.
           (quoting Newcomb Dep., Ex. 34) (emphasis added).
        Guardian’s President Hopp also testified that “there’s no charge to the

community” for the quarterly pharmacy consulting services. Id. at ¶ 20. For example,
he confirmed in a letter to one Community (Magnolia Senior Living):

        Please note that for any of your residents who choose not to use
        Guardian Pharmacy of Atlanta for their pharmacy needs, they will not
        have access to all our services. These services include . . . quarterly
        pharmacist/nurse review where we audit medications that are
        being stored, administered, and recorded properly. We do all of
        this and more without charge. Please keep this in mind when a family
        or resident wants to discuss with you about switching from Guardian
        Pharmacy of Atlanta. To discontinue service with us is to discontinue
        all that is included above.
Id. (emphasis added). Guardian’s Vice President for Finance and Operations also
confirmed that the “residents are not billed for consulting services.” Id. at ¶ 17.
        These quarterly consulting services are critical to the Communities. Under
Georgia law, ALCs must “secure” a licensed pharmacist to perform a quarterly
medication review and then report any irregularities to the Community; ensure
proper disposal of drugs that are expired, discontinued, or in deteriorated condition;

and establish or review policies and procedures for safe and effective drug therapy,
distribution, use, and control. Id. at ¶¶ 24–25.8 Starting in July 2020, PCHs also had
to “secure” a pharmacist to perform the same duties9; before then, Guardian

generally assigned a licensed nurse to provide consulting for PCHs. Id. at ¶ 26.

8
    See O.C.G.A. § 31-7-12.2(g)(10).
9
    See O.C.G.A. § 31-7-12(h)(7).


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Throughout the relevant period, PCHs had legal duties for proper documentation of
medication administration, storage, and disposal.10 Guardian’s staff gave detailed

written reports of their findings to the Community (not the residents) for each
consulting visit. Id. at ¶¶ 27–28. Guardian provided the quarterly consulting services
to help the Communities maintain their licensures under Georgia law. Id. If a

Community did not perform quarterly consulting services, the Community risked
losing its Georgia license. See id. at ¶ 28.
        Guardian’s free quarterly pharmacy consulting services also provided the

Communities with economic benefit and savings. President Hopp testified that the
fair market value of the quarterly pharmacy consulting services was between “$9 to
$11 per bed.” Id. at ¶ 16. Ms. Newcomb and others charged $20 or more to review

a single chart during a quarterly consulting visit if the resident did not use Guardian
as their pharmacy. Id. at ¶ 18. Guardian maintained an expensive consulting team of
two, full-time salaried pharmacists and two nurses who did not even work in the
dispensing pharmacy. Id. at ¶¶ 31–32. They reported directly to President Hopp, and
their sole responsibility was to perform services onsite at Communities. Id. By
receiving these services for free and not having to incur the cost of hiring their own

consulting pharmacist or nurse, Communities received a significant benefit and
savings from Guardian. See id. at ¶¶ 19–21, 28, 30–31. These services clearly had
value to the Communities, and Guardian provided the services for free. Id.



10
     See Ga. Comp. R. & Regs. 111-8-62-.20.

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             2.     Free and Discounted Classes, Skills Checks
      From 2014 through January 2018, Guardian’s policy and practice was to offer

and provide free and discounted CMA/PC training, education classes, and skills
checks to staff of Communities. Id. at ¶ 33. Skills checks and observations were done
for free by consulting staff during their quarterly visits. Id. at ¶ 49. Guardian sent at

least 39 blast emails to Communities announcing new classes, stating “any new
[C]ommunity to Guardian,” “any existing Guardian [C]ommunites which had newly
obtained licensure,” and “all of Collier’s clients” were “exempt” from charges for

education and training. Id. at ¶¶ 39–40. For example:

 Email Date    Message
 Mar. 26, 2014 “Therefore, I would really like for you to see a demonstration
               from Guardian Pharmacy. They offer a training program and
               several software/hardware options which are also provided to
               us at no charge.”
 Feb. 19, 2015 “[F]or our new communities, this training is complementary.”
 Apr. 13, 2015 “This is the training that is required for GA Certified Medication
               Aide Certification, and is class time only; Skills checks and
               testing are separate. The charge for the class is $50/day
               ($100/staff member), with new clients and host community
               exempt from charges.”
 Jan. 24, 2016 “The charge for the class is $50 per day/ $100 per candidate. Our
               Host community is exempt from these charges, and if you are a
               new community to Guardian Pharmacy, you also may send
               your candidates at no charge. When you arrange for skills
               checks and CMA testing, the charge is $125 per CMA candidate.
               If you schedule skills checks with your consulting appointment,
               we will exempt charges for 1-2 staff for skills checks and testing
               as part of routine consulting.”
 June 9, 2016 “The cost of the class is $50 per day, per attendee. Your
               community will be billed for the number of attendees you send.


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                 Communities that are new to Guardian Pharmacy Atlanta
                 and our host community are exempt from these charges.”
 July 5, 2016    “Finally, remember that we will complete training and skills for
                 the first 10 CMA’s at no charge to you for a new customer
                 discount.”
 July 27, 2016




 May 10, 2017 “The cost of the class is $50 per day, per staff member . . . . Those
                communities that are exempt from charges are our host
                community, any new community to Guardian pharmacy Atlanta
                (including all of Colliers clients), and any new start up AL
                community or conversion to AL. You will receive CMA training
                at no cost for the first 10 employees.”
 Sept. 12, 2017 The charge for the class is $50 per day; however, all of our new
                clients are exempt from charges, all of our transferred
                Collier’s clients are exempt, and some of our corporate clients
                are also exempt. If your community is charged, the charges will
                be billed to your community.”
 Dec. 11, 2017 “The cost of the class is $50, and will be billed to your
                community. All of our new clients, including Collier’s
                transfers, are exempt from charges.”
Id. at ¶ 39 (emphasis added).11

      Guardian’s discovery responses admit this policy:
      Guardian states that, before January of 2018, Guardian would allow
      certain communities to send up to ten (10) staff members to
      Education Classes at no charge.
                                       ***

11
  This list of 10 is exemplary. The complete list of all 39 emails containing illegal
offers is contained in a Rule 1006 Summary. SMF at ¶ 39 (Callow Decl., Ex. C).

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      Guardian states that it has always charged for Skills Checks, although
      prior to January 2018, the Skills Checks were sometimes included
      within the Charge for Education Classes.
                                       ***
      Guardian states that, before January 2018, it would sometimes perform
      up to two (2) Skills Checks at a community during a routine
      mediation management audit and would not generate an invoice to
      the community for these Skills Checks.
Id. at ¶¶ 38, 46 (emphasis added). Guardian’s sign-in sheets from the classes confirm
that staff members of 36 different Communities attended a free class, including:
Community Name             Class Date(s)                                    Invoice
Azalea Estates             Mar. 26, 2015; Oct. 10, 2017;                    None
                           Jan. 18, 2017; Sept. 27, 2016
Benton Manor               Sept. 26, 2017                                   None
Benton House of            Jan. 25, 2017; Nov. 30, 2017; Sept. 26, 2017;    None
Newnan                     Aug. 23, 2017; June 12, 2017
Benton House               Aug. 23, 2017; July 19, 2017; Mar. 21, 2017;     None
                           Jan. 25, 2017
Benton House of            May 16, 2017; Nov. 19, 2014; June 12, 2017       None
Stockbridge
Benton House of            Aug. 23, 2017; July 19, 2017; May 16, 2017       None
Sugarhill
Benton House of            July 19, 2017                                    None
Woodstock
Heritage of Brookstone     Oct. 10, 2017                                    None
Dogwood Forest of          Sept. 26, 2017; Aug. 23, 2017                    None
Dunwoody
Mt. Vernon Towers          Mar. 10, 2016                                    None
Oaks at Braselton          Jan. 25, 2017; Nov. 30, 2017                     None
Oaks at Hampton            Jan. 25, 2017; July 19, 2017; Nov. 30, 2017      None
Oaks at Post Road          Jan. 25, 2017; Mar. 21, 2017; Nov. 30, 2017      None
Oaks at Towne Lake         Jan. 25, 2017; June 12, 2017; Aug. 23, 2017;     None
                           Nov. 30, 2017
Somerby at Peachtree       July 19, 2017                                    None
City


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 Sterling Estates           Mar. 9, 2015                                     None
 Towne Club of              Jan. 25, 2017; May 16, 2017; Aug. 23, 2017       None
 Windermere
 Radiance/Thrive of         Jan. 25, 2017;                                   None
 East Cobb                  Nov. 30, 2017
 Waterford at Oakwood       May 16, 2017                                     None
 Windsor House              June 23, 2016; Aug. 16, 2016; Oct. 17, 2016      None
See id. at ¶ 35.12 To be clear, several Communities paid for classes and skills
checks—but not these 36 Communities. These 36 Communities also received free

quarterly consulting services. Id. at ¶ 36. These free classes and skills checks helped
the Communities satisfy their licensing requirements. Id. at ¶¶ 42–43, 50.
Communities must arrange for such training as well as skills checks and random

observations of aides administering medications to residents. Id.13 These services
clearly had value to the Communities. Guardian provided the services for free.
      Finally, in January 2018, Ms. Newcomb announced: “We cannot continue to

give everything away for free.” Id. at ¶¶ 45, 52–53. She said President Hopp “gave
the ok” for charging for education and skills checks, but quarterly consulting
services remained free, as did carts and laptops. Id. at ¶ 53.

             3.     Free Medication Carts and Laptops
      From January 1, 2014 through June 30, 2019, Guardian offered and provided
free medication carts and laptops to Communities. Id. at ¶ 54. In Guardian’s own

Services Agreements with the Communities,

12
   This list of 20 is exemplary. The complete list of all 36 Communities who received
free classes is contained in a Rule 1006 Summary. SMF at ¶ 35 (Callow Dec., Ex. D).
13
   See O.C.G.A. § 31-7-12.2(g) (assisted living communities); Ga. Comp. R. & Regs.
111-8-62-.20 (personal care homes).

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           Id. at ¶ 55. Communities use the carts to store medications (from any

pharmacy, not just Guardian) and to distribute them to residents. Id. at ¶ 56. They
use laptops to maintain “medication administration records” which are required by
Georgia law. Id. at ¶ 57. Guardian “loaned” the carts and laptops to the Communities

for free so the Communities did not have to purchase them on their own. Id. at ¶ 58.
Guardian also provided the laptop mount to attach the computer to the storage cart
and provided limited technical support and expertise. Id. at ¶ 59.14 These loaned

medication carts and laptops clearly had value to the Communities. Guardian loaned
these carts and laptops for free.
      B.      The Communities Referred, Arranged for, or Recommended Their
              Residents to Guardian
      Offering free quarterly consulting, free classes, and free carts and computers
was successful. Each Community designated Guardian as its “preferred pharmacy”
or “preferred provider.” Id. at ¶ 60. As such, the Communities

                                                                             . Id. at ¶
61. Guardian was the only long-term care pharmacy referred to and recommended
by the Communities to their new and existing residents. Id. at ¶ 64. In fact, Guardian

provided Communities with its “Resident Welcome Information” and brochures
(i.e., “Welcome Packet”) for the Communities to share with their residents. Id. at
¶ 62. The Welcome Packet identified Guardian as the Community’s “preferred

14
  The complete list of all 33 Communities that received free carts and laptops is
contained in a Rule 1006 Summary. SMF at ¶ 54 (citing Callow Decl., Ex. E).

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pharmacy.” Id. at ¶ 63. By delivering one to each resident, the Community referred
residents to Guardian and provided the necessary authorization forms to choose

Guardian. See id. at ¶¶ 63–64. No other long-term care pharmacy’s name or
information was included in the Welcome Packets or other materials provided by
Communities to their residents. Id.

      One Community, Canterfield of Kennesaw (“Canterfield”), provided detailed
testimony about this referral process and how Guardian asked Canterfield to
designate Guardian as the preferred pharmacy and “agreed to provide quarterly

consulting services for no charge.” Id. at ¶ 67. In exchange, Canterfield agreed “to
inform residents that Guardian is the preferred pharmacy[,]” to distribute to its
existing and new residents Guardian’s Welcome Packet, and “to recommend[] that

they fill their prescriptions at Guardian.” Id. at ¶ 68. Canterfield then “gathered the
completed forms from the resident and returned them to Guardian.” Id. at ¶ 69. Over
the years, Canterfield “provided Guardian’s information to hundreds of residents”
and “approximately 95% of the Community’s residents chose Guardian as their
pharmacy.” Id. at ¶ 70. Canterfield testified:
      The Community relies on Guardian to perform the above services so
      the Community can satisfy its medication management requirements
      for licensure. Guardian does not bill the Community for these services.
      Guardian’s quarterly pharmacist services are one reason the
      Community has continued to use Guardian as the preferred
      pharmacy.
Id. at ¶ 67 (emphasis added).




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      To guarantee residents would choose Guardian, several of the Communities




Id. (emphasis added). The Communities referred and recommended Guardian to
their residents and did not refer or recommend any other long-term care pharmacy.
Once Guardian was identified as the “preferred pharmacy,” it was the only option

provided by Communities to their current or new residents. Id. at ¶¶ 62–64.
      C.     One Purpose of Free Services Was To Induce Referrals.
      Guardian used its leverage and freebies to secure as many referrals as possible.

Its free services were contingent on the volume of patients that the Communities
successfully referred to Guardian. Guardian required that Communities have a
“majority” or “supermajority” of their residents (typically 70–80%) referred to and

signed up with Guardian to maintain the free services. Id. at ¶ 73. If this percentage—
referred to by Guardian as its “penetration rate” or “adoption rate” at a Community—
fell below a certain rate (i.e., if not enough residents were successfully referred to



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Guardian), then Guardian withheld the free services and, instead, charged the
Community the “full rate” for the services. Id. at ¶ 72. Guardian offered and provided

the free services so that the Communities would designate Guardian as their
“preferred pharmacy” or “preferred provider.” Id. at ¶¶ 74–76.
      President Hopp explained this “majority” requirement to one Community in a

May 22, 2017, email, stating:
      [W]hat Lori is referring by preferred pharmacy is that we service the
      majority of the community. Currently we are only servicing 10 of the
      residents. . . . In our other Five Star buildings we are servicing typically
      around 95% of the residents—when we are the primary pharmacy
      it’s easy for us to do the quarterly consulting and certifications, if
      we are not the primary we have to charge for our services[.]
Id. at ¶ 72 (quoting Hopp Dep., Ex. 15) (emphasis added). Ms. Newcomb explained
that this has been Guardian’s practice and policy from “September 2014 to present.”

Id. Similarly, Ms. Newcomb told another Community in an email:
      We must have at least half of the community in order to provide
      special services like training. Please understand that at the majority of
      our communities, we maintain 85–95% of residents. For that
      commitment, we are able to provide training at a lower cost.
Id. (quoting Newcomb Dep., Ex. 22) (emphasis added). Similarly,
                                                            , Ms. Newcomb wrote:




                                                                                 .


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Id. at ¶ 73 (quoting Newcomb Dep., Ex. 44) (emphasis added). In
                                      , Ms. Newcomb stated:




Id. at ¶ 72 (quoting Newcomb Dep., Ex. 47) (emphasis added).

      In a February 2018 email discussion about a new $20 fee for “consulting for
non-guardian residents,” Pharmacy Director Tim Williams expressed concern:
“[T]hat takes away our leverage to increase penetration in the community.” Id. at ¶

76. Ms. Newcomb agreed that “penetration” might suffer, but her answer to that
problem was to “keep pushing clients that have non-Guardian residents to convert
them” to Guardian. Id. at ¶ 77.

      With respect to providing free carts and computers, Mr. Hopp stated in a
January 20 and February 6, 2015 email to one community:
      To break the contract down, it basically says we will provide you with
      carts and computers—in return we will be your primary pharmacy
      for a set amount of time. Meaning we’re the only pharmacy in your
      admission packet[.]
                                       ***



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      I’m pretty straight and to the point so here’s the bottom line of what the
      contract says—we will supply you with new equipment
      (carts/computers, etc.), in exchange we will be your primary and
      preferred pharmacy . . . . [B]asically this is saying our admission
      packet is the only packet you will be handing out[.]

Id. at ¶ 78. (emphasis added).
      Scott Holloway, Guardian’s Vice President of Finance and Operations,
described the consulting department as the “sales team.” Id. at ¶ 79. They typically

worked onsite at Communities, not in the dispensing pharmacy. Id. at ¶¶ 31–32.
Additionally, the consulting nurses are paid out of Guardian’s “marketing” budget,
and Guardian provided “incentive plan” compensation and bonuses to consultants,

part of which was based on “maintaining patient count at [Guardian’s]
communities.” Id. at ¶¶ 80–81. For instance, Lisa McKenzie testified that Guardian
has targets and she is “incentivized on a bonus” to hit that “target goal.” Id.

      D.      Guardian Knew Offering Free Services Was Unlawful
      The “                   ” in Guardian’s own Services Agreements with the
Communities, which President Hopp personally neogiated and signed dozens of

times over many years,




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Id. at ¶¶ 82–84 (emphasis added). Ignoring these prohibitions, President Hopp

concealed his offer of free services by stating them on
                                   See id. at ¶ 11. Witnesses for Guardian Pharmacy,
LLC (Guardian’s parent company) claimed they had no knowledge of the free

consulting services, conceded that providing these free services to Communities
“[f]or the purpose of inducing would be a kickback[,]” and affirmatively stated that
Guardian “should be charging” for these services. Id. at ¶¶ 85–86.

      Guardian’s employees participate in annual compliance training, including
fraud, waste, and abuse laws, including the AKS. Id. at ¶ 89. President Hopp and
Holloway have decades of experience in the long-term care industry, and Guardian

knows its Medicare claims must comply these laws and the AKS. Id. at ¶¶ 90–91.
      In addition, Guardian, like others within the long-term care pharmacy
industry, has also known since 2009 that its competitor (Omnicare Inc.) paid a $98

million settlement to resolve FCA allegations, including that it provided free
pharmacist consulting services to induce referrals. Id. at ¶¶ 92–93. Guardian’s own
legal counsel published a Client Alert about the case, advising the pharmacy industry

that the case should “serve as a catalyst” for pharmacy providers to “reexamine their
existing relationships to ensure that pharmacy consultant services are being provided
on a fair market value and without regard to the referrals[.]” Id. at ¶ 93.




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       E.    Guardian’s Kickback Scheme Was Successful in Growing Business
       The illegal kickback strategy was successful. Guardian became the dominant

long-term care pharmacy at ALCs and PCs in northern Georgia. Id. at ¶ 96. Guardian
generally obtained referrals for a super-majority of residents at each of the 80
Communities. For instance, Canterfield of Kennesaw testified that “approximately

97% of the Community’s residents chose Guardian as their pharmacy.” Id. at ¶ 67.


                                                                Id. at ¶ 66.

       Guardian has provided long-term care pharmacy services to thousands of
residents at these 80 Communities, resulting in hundreds of thousands of claims
submitted to Medicare and TRICARE. See id. at ¶ 97. Each of these claims, even if

the drugs were medically necessary, are tainted by Guardian’s illegal kickback
scheme. Based on expert analysis of Guardian’s claims data, the Government’s
single damages relating to these tainted claims for Medicare and TRICARE

beneficiaries residing at these 80 Communities total $16,098,070. See id.

III.   LEGAL ARGUMENT

       Guardian knowingly and willfully violated the AKS by offering and
furnishing free services to the 80 Communities identified in the Callow Declaration,

for the purpose, at least in part, to induce patient referrals. Guardian then submitted
claims for payment to Medicare Part D plans and Express Scripts (as the
administrator of TRICARE pharmacy benefits) for prescription drugs for residents



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who were referred to Guardian by the 80 Communities. Proof of Guardian’s claims,
the corresponding payments, and the damages sustained by Medicare and TRICARE

relating to those claims are summarized in the Adam Declaration.
      Guardian’s claims were materially false claims because they included drugs
resulting from its unlawful kickback scheme. 42 U.S.C. § 1320a-7b(g). Accordingly,

Relator is entitled to partial summary judgment on Count I for the small subset of
claims relating to the 80 Communities identified in this Motion.
      A.     Guardian Violated the AKS

      Guardian violated the AKS as a matter of law. As noted, the elements of an
AKS violation are (1) scienter; (2) an offer or payment of “remuneration”; (3) “to
induce” a person to refer a patient for an item or service, to arrange for an item or

service, or to recommend purchasing an item or service; and (4) the item or service
is paid for in part by a federal health care program.15 42 U.S.C. § 1320a-7b(b)(2).
             1.    Scienter Under the AKS
      The AKS is violated when someone “knowingly and willfully” offers
remuneration to induce referrals; however, “a person need not have actual
knowledge of [the Anti-Kickback Statute] or specific intent to commit a violation of

this section.” 42 U.S.C. § 1320a-7b(b), (h). The Eleventh Circuit has long recognized
that “the giving or taking of kickbacks for medical referrals is hardly the sort of
activity a person might expect to be legal.” United States v. Starks, 157 F.3d 833,

15
  Medicare Part D and TRICARE are federal health care programs under the AKS.
See 42 U.S.C. § 1320a-7b(f).

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838 (11th Cir. 1998). The evidence must show “only that [the] defendant knew that
his conduct was generally unlawful, and not that he specifically knew that his actions

violated the statute.” United States v. Man, 891 F.3d 1253, 1268 (11th Cir. 2018).
      By choosing to participate in federal health care programs, Guardian is
expected to know the payment requirements. Heckler v. Community Health Services,

467 U.S. 51, 63–64 (1984) (provider “had a duty to familiarize itself with the legal
requirements for cost reimbursement” under the Medicare Program). Guardian, as a
subcontractor for Medicare Part D plan sponsors, is required to comply with all

applicable laws, including the AKS. 42 C.F.R. § 423.505(i)(4)(iv).
      Knowledge and disregard of the law may be inferred from circumstances, such
as the presence of AKS requirements in a pharmacy’s compliance program, and an

individual’s executive position in a specialty pharmacy. See United States v. Vernon,
723 F.3d 1234, 1254, 1267 (11th Cir. 2013) (jury could have inferred that CEO’s
position “required that he familiarize himself with significant statutes regulating the

pharmaceutical industry, including the Anti-Kickback statute.”).
      As shown in Section II.D above, Guardian knew about and blatantly ignored
                                                                                   that

President Hopp personally negotiated and signed dozens of times over many years.
Scienter is further proven by the undisputed evidence of: (a) a pattern of repeated
violations involving dozens of Communities that were offered free consulting, free

or discounted education, skills checks, medication carts, laptops, and other goodies
to induce referrals; (b) Guardian’s apparent effort to conceal the free services from

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its parent company, Guardian Pharmacy, whose witnesses claimed no knowledge of
the conduct and conceded it would violate the AKS; (c) decades of industry

experience by Guardian’s top leadership (e.g., President Hopp, Vice President
Holloway); (d) participation in annual compliance training, including the AKS;
(e) widespread publicity of a similar kickback scheme involving consulting

pharmacists for a competitor; (f) industry-wide publications about the prohibition of
providing free consulting services to induce referrals (e.g., 2009 Client Alert); and
(g) an expectation that Guardian, as a pharmacy whose revenues are derived mainly

from the Medicare program, has a duty to be familiar with the conditions for payment
of federal taxpayer funds, including compliance with the AKS. See Heckler, 467
U.S. at 63–64.

             2.     Remuneration Under the AKS
      Remuneration is anything of value offered or paid to induce a referral. It
includes “any kickback, bribe, or rebate” and may be offered or paid “directly or
indirectly, overtly or covertly, in cash or in kind to any person to induce such person”
to refer patients. 42 U.S.C. § 1320a-7b(b)(2). As this Court found, remuneration “has
been broadly interpreted ‘to include anything of value in any form whatsoever.’”

ECF 63 at 17 (citations omitted); see also 56 Fed. Reg. 35952, 35958 (July 29, 1991)
(“Congress’s intent in placing the term ‘remuneration’ in the statute in 1977 was to
cover the transferring of anything of value in any form or manner whatsoever.”); 42

U.S.C. § 1320a-7a(i)(6) (“remuneration” includes “transfers of items or services for
free or for other than fair market value.”).

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      A fair market value benchmark is not required to prove remuneration in this
case because Guardian did not purchase goods or services from the Communities.

See ECF 63 at 19, n.50. The fair market value of a transaction is relevant only when
the complaint alleges the defendant overpaid for services or sweetened the deal in a
commercial transaction to induce referrals. See Bingham v. HCA, Inc., 783 F. App’x

868, 871 (11th Cir. 2019); Kuzma v. N. Ariz. Healthcare Corp., No. CV-18-08041,
2022 U.S. Dist. LEXIS 106969, at *11–14 (D. Ariz. June 15, 2022).
      The valuable goods and services that Guardian furnished to the 80

Communities identified in the Callow Declaration, as described in Section II.A,
constitute remuneration under the AKS, as a matter of law. The free goods and
services certainly had value to the Communities in alleviating the costs they

otherwise would incur to comply with Georgia law requirements when they
administer medications to residents. Value is further demonstrated by President
Hopp’s explanation of the per-bed rate for consulting services, Guardian’s $20 fee
to review charts for residents who did not select Guardian, and the significant cost
of salaries and expenses for 4 full-time employees to staff a Consulting Department
that worked entirely remotely providing free services for clients.16


16
   Guardian may claim that Medicare Part D plans require it to perform quarterly
consulting services for communities and that “dispensing fees” cover the costs. But
Medicare regulations unequivocally state that dispensing fees cover only a
pharmacy’s costs to prepare and deliver a prescription, see 42 C.F.R. § 423.100, and
the pharmacist must do a “drug utilization review” concurrently with filling the
prescription. See 42 C.F.R. § 423.153(c)(2). Onsite consulting at the patient’s
residence is not covered. Thus, Guardian’s argument is a red herring.

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             3.    Inducement Under the AKS
      Guardian was not merely an altruistic benefactor when it furnished free

services at its own expense. Guardian sought to induce Communities to “refer”
residents to Guardian, to “arrange” for residents to purchase drugs from Guardian,
or to “recommend” that residents purchase drugs from Guardian. 42 U.S.C. § 1320a-

7b(b)(2)(A), (B). In short, one purpose of Guardian’s offering of free services was
to induce Communities to choose and maintain Guardian as the preferred pharmacy.
      As this Court observed, “[c]ourts are clear that ‘an AKS violation exists if one

purpose of the remuneration was to induce Medicare purchases, even if other
legitimate purposes for the remuneration existed.’” ECF 63 at 28 (quotations
omitted). “[O]ne need not prove that the primary or sole purpose of the remuneration

was to induce the referral of patients or the recommendation of items or services; it
is enough if that was ‘one purpose’ of the remuneration.” United States ex rel. Wood
v. Allergan, Inc., 246 F. Supp. 3d 772, 806 (S.D.N.Y. 2017). Every appellate court
considering the “one purpose” test agrees. Id.
      Moreover, what it means to induce a “referral” under the AKS “is broad,
encapsulating both direct and indirect means of connecting a patient with a

provider.” Stop Ill. Health Care Fraud, LLC v. Sayeed, 957 F.3d 743, 750 (7th Cir.
2020); see Sayeed, No. 12-cv-09306, 2020 U.S. Dist. LEXIS 220724, at *12–13
(N.D. Ill. Nov. 24, 2020) (finding defendant sought to induce a referral by paying

fees to gain access to contact information for Medicare beneficiaries). In Vernon, for
instance, the Eleventh Circuit upheld the conviction of a defendant who paid a

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patient advocate to refer hemophiliac patients to the defendant’s pharmacy. 723 F.3d
at 1254. The Court rejected the notion that only physicians can “refer” patients and

held that the patient advocate was “the relevant decisionmaker” because of her
“existing relationships with her clients.” Id. at 1255.
      Here, the Communities, like patient advocates, are the relevant decision

makers, and one reason Guardian offered them remuneration was to influence their
judgment. As shown in Section II.C above, Guardian used free services to
incentivize and reward Communities who selected Guardian as the “preferred

pharmacy” and delivered Welcome Packets, which exclusively identified Guardian
as the preferred pharmacy, to their residents. Guardian monitored “penetration” rates
and withheld services from Communities that did not refer enough residents. The

Consulting Department was the de facto “sales team” that was partially paid from a
marketing budget and was offered incentives to increase penetration. Even if
Guardian had other motives for performing free consulting services and offering
other remuneration to Communities, one purpose was to induce patient referrals.
      B.     Guardian’s Claims Resulted From AKS Violations
      The foregoing evidence proves Guardian violated the AKS as a matter of law.

Next, the Court should hold that any claim that Guardian submitted to Medicare Part
D plans or TRICARE for prescriptions for residents of the 80 Communities in the
Callow Declaration resulted from the kickback scheme, as a matter of law. In 2010,

Congress amended the AKS to make it crystal clear that “a claim that includes items



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or services resulting from a violation of [the AKS] constitutes a false or fraudulent
claim for purposes of [the FCA].” 42 U.S.C. § 1320a-7b(g).

      As this Court observed, “[r]ecent cases have required a relator to show
‘causation, or some “link” between the payment of remuneration and the submission
of false claims’ to ‘establish FCA liability based on an AKS violation.’” ECF 63 at

38 (quotations omitted). This Court discussed United States ex rel. Greenfield v.
Medco Health Sols, Inc., which established a patient-exposure standard: A
“kickback does not morph into a false claim unless a particular patient is exposed to

an illegal recommendation or referral and a provider submits a claim for
reimbursement pertaining to that patient.” 880 F.3d 89, 100 (3d Cir. 2018); see, e.g.,
Kuzma, 2022 U.S. Dist. LEXIS at *36 (collecting cases) (relator alleged “patients in

this case were actually exposed to compromised professional judgment—the
decisions of their doctors to use Defendants’ facilities.”).17
      The Eleventh Circuit has not addressed the term “resulting from” in the 2010
amendment, but the Court has twice stated that a claim is false under the FCA when


17
   The Eighth Circuit recently created a circuit split by holding that “resulting from”
is a “but for” causation standard, requiring the Government to prove “the defendants
would not have included particular ‘items and services’ absent the illegal
kickbacks.” United States ex rel. Cairns v. D.S. Medical LLC, No. 20-2445, 2022
U.S. App. LEXIS 20584, at *13 (8th Cir. July 26, 2022). In Cairns, the Court
rejected the Justice Department’s reliance on McNutt and implied that the 2010
amendment legislatively overruled McNutt. See id. at *14–15. While the undisputed
facts here establish “but for” causation, Cairns is inconsistent with binding Eleventh
Circuit precedents and should not be applied.


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it includes services for a specific patient who was referred by someone who received
an unlawful inducement. First, in 2005, the Court found in McNutt the Government

had stated a claim under the FCA where the complaint “identified specific claims
submitted by the [defendants] to Medicare for reimbursement for services, which
had been rendered to patients referred by the individuals receiving kickbacks.” 423

F.3d at 1258. Second, in 2014, the Court in United States ex rel. Mastej v. Health
Management Associates, considered whether an FCA complaint sufficiently
identified hospital claims for patients who were referred by neurosurgeons who

allegedly received excessive compensation and golf trips from the health system.
591 F. App’x at 705–06. The Eleventh Circuit’s view was “claims were not
false unless those claims submitted or presented were for Medicare patients who had

been (1) referred by one of the ten doctors and (2) treated by the Defendants.” Id.
      Thus the patient-exposure standard established in Greenfield is consistent
with McNutt and Mastej, it is supported by the majority of courts to consider it, and

it honors Congress’s objective “to make it easier, not harder, to bring (and ultimately
prove) FCA claims predicated on violations of the AKS.” United States ex rel. Fitzer
v. Allergan, Inc., No. 1:17-cv-00668, 2022 U.S. Dist. LEXIS 152099, at *29–30 (D.

Md. Aug. 23, 2022) (rejecting Cairns and relying on Greenfield).
      As shown in Section II.B, C, and E, Guardian submitted claims for
prescriptions for residents referred to Guardian by the 80 Communities that received

Guardian’s unlawful inducements. The Communities designated Guardian as the
exclusive “preferred” pharmacy,                                                       ,

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and delivered Welcome Packets and other documents facilitating referrals. This
undisputed evidence proves these specific patients were “exposed” to tainted

referrals. There is no evidence that residents found Guardian through any means
other than referrals by their Communities. Thus, all of Guardian’s claims for drugs
for those residents resulted from the unlawful kickback violations.

      C.     Guardian’s Claims Are Materially False As A Matter of Law
      Because Guardian’s claims included drugs resulting from its AKS violations,
the elements of falsity and materiality for a cause of action under the FCA, 31 U.S.C.

§ 3729(a)(1)(A), are established as a matter of law. A claim is false if it seeks
payment for services that are ineligible for payment by a federal health care program.
See, e.g., United States ex rel. Walker v. R&F Props. of Lake Cty, Inc., 433 F.3d

1349, 1356 (11th Cir. 2005). In McNutt, the Eleventh Circuit held that an underlying
AKS violation establishes the falsity of a claim for payment. See 423 F.3d at 1257.
There, the Government alleged the defendants paid “kickbacks camouflaged as
rental payments and commissions to pharmacists” and others and submitted claims
to Medicare for services referred by the recipients of the kickbacks. Id. at 1258. The
Eleventh Circuit was blunt: “When a violator of government regulations [referring

to the AKS] is ineligible to participate in a government program and that violator
persists in presenting claims for payment that the violator knows the government
does not owe, that violator is liable, under the [FCA], for its submission of those

false claims.” Id. at 1259. “The violation of the regulations and the corresponding
submission of claims for which payment is known by the claimant not to be owed

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make the claims false.” Id.; see United States ex rel. Keeler v. Eisai, Inc., 568 Fed.
App’x. 783, 799 (11th Cir. 2014) (describing McNutt as an implied false-

certification case).
      The “resulting from” language in the 2010 AKS amendment removed any
doubt that claims tainted by compromised referrals are per se materially false. See

42 U.S.C. § 1320a-7b(g). This statute means “reimbursement claims for services
provided to patients referred through AKS violations are deemed ‘false or
fraudulent’ as a matter of law.” United States ex rel. Carrel v. AIDS Healthcare

Found., 262 F. Supp. 3d 1353, 1355 (S.D. Fla. 2017), aff’d, 898 F.3d 1267 (11th Cir.
2018). Stated another way, “[a]n AKS violation that results in a federal health care
payment is a per se false claim under the FCA.” Guilfoile v. Shields, 913 F.3d 178,

190 (1st Cir. 2019) (emphasis added). The falsity element of an FCA cause of action
is “necessarily satisfied” when an AKS violation is proven, because the violation
“automatically constitutes a false claim.” United States ex rel. Lutz v. Mallory, 988
F.3d 730, 741 (4th Cir. 2021); United States ex rel. Kester v. Novartis Pharms.
Corp., 43 F. Supp. 3d 332, 364 (S.D.N.Y. 2014) (“the act of submitting a claim for
reimbursement itself implies compliance with” the AKS) (citations omitted).

      Compliance with the AKS is also undoubtedly material to the payment of
claims by federal health care programs. See Escobar, 579 U.S. at 189. This Court
previously recognized that “many federal courts have concluded that AKS violations

are material as a matter of law.” ECF 63 at 46; see Guilfoile, 913 F.3d at 190. Indeed
the “overwhelming weight of authority” is that compliance with the AKS was a

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condition of payment “even before the 2010 amendment.” Kester, 43 F. Supp. 3d at
363 (citing McNutt and numerous similar holdings).

      “If a Relator must plead and prove that compliance with the AKS was
‘material' to a claim ‘resulting from’ an AKS violation, § 1320a-7b(g) would not
represent the strengthening of whistleblower actions that Congress intended.”

United States v. Biogen IDEC Inc., No. 1:12-cv-10601, 2022 U.S. Dist. LEXIS
117512, at *9 (D. Mass. July 5, 2022); see also United States v. Reliance Med. Sys.,
No. 14-06979, 2022 U.S. Dist. LEXIS 31214, at *10 (C.D. Cal. Feb. 22, 2022)

(granting the Government’s motion for partial summary judgment, holding that
compliance with the AKS “is necessarily material to the Government's decision to
pay Medicare claims”).

      D.     Guardian Presented False Claims
      Next, the Court should hold that Guardian presented false claims to Medicare
Part D sponsors and TRICARE’s pharmacy benefit administrator, Express Scripts.
The FCA defines a “claim” to include any request or demand for payment made
directly to the Government or to a federal contractor administering a federal benefits
program involving federal funds. 31 U.S.C. § 3729(2)(A)(ii).

      Here, Guardian presented claims for reimbursement to Medicare Part D plans
and Express Scripts for prescriptions for residents referred to Guardian by the 80
Communities. The plans are Government contractors, the money is used to advance

federal health care benefit programs, and the Government provides a portion of the
money. See United States ex rel. Garbe v. Kmart Corp., 824 F.3d 632, 638 (7th Cir.

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2016). As a subcontractor of Part D plan sponsors, Guardian must “acknowledge”
in its contracts “that the claims data will be used for the purposes of obtaining

Federal reimbursement.” 42 C.F.R. § 423.505(k)(3) (emphasis added).
      As summarized in the Adam Declaration, Guardian produced claims data in
discovery. See SMF at ¶¶ 7, 96. Relator’s damages expert analyzed Guardian’s

Medicare and TRICARE claims data and produced a damages report. See id. at ¶¶
96–97. The claims data is conclusive evidence of claims for payment that Guardian
presented to Medicare and TRICARE contractors. See Garbe, 824 F.3d at 638.

      E.     Guardian’s Knowing Submission of False Claims
      Finally, the remaining element of the FCA cause of action is proof that the
defendant “knowingly” presented false claims. 31 U.S.C. § 3729(a)(1)(A). A

defendant acts “knowingly” when it has “actual knowledge of the information,”
“acts in deliberate ignorance of the truth or falsity of the information,” or “acts in
reckless disregard of the truth or falsity of the information.” Id. at § 3729(b)(1).
Further, “no proof of specific intent to defraud” is required to establish liability. Id.
      The concept of “reckless disregard” was specifically added to the FCA in 1986
to capture “the ‘ostrich’ type situation where an individual has ‘buried his head in

the sand’ and failed to make simple inquiries which would alert him that false
claims are being submitted.” Urquilla-Diaz v. Kaplan Univ., 780 F.3d 1039, 1058
(11th Cir. 2015). “Reckless disregard is the lowest scienter threshold under the

FCA” and is “tantamount to gross negligence.” Yates v. Pinellas Hematology &
Oncology, P.A., 21 F.4th 1288, 1303 (11th Cir. 2021); see also United States ex rel.

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Walthour v. Middle Ga. Fam. Rehab, LLC, No. 5:18-CV-00378, 2022 U.S. Dist.
LEXIS 72711, at *34 (M.D. Ga. Apr. 20, 2022) (finding defendant’s conduct

“epitomizes” reckless disregard and granting partial summary judgment).
      Based on the undisputed facts relevant to scienter under the AKS, the Court
also should hold that Guardian evinced “reckless disregard” when it submitted

claims for prescriptions for residents referred to Guardian by the 80 Communities.
Guardian’s President personally negotiated the preferred-pharmacy arrangements
with Communities, directed the kickback scheme through the Consulting

Department, and closely monitored billing, revenue, and penetration rates for each
Community. Most of Guardian’s revenues come from Medicare, and Guardian
clearly knew it was submitting claims for residents exposed to improper referrals.

      F.    The Government Is Entitled to Damages, Trebled
      A defendant who violates the False Claims Act is liable for a civil penalty for
each false claim plus three times the amount of damages the Government sustains.
See 31 U.S.C. § 3729(a)(1). Based on the undisputed evidence, the Court should
grant summary judgment as to the Government’s single and treble damages in this
case. See, e.g., Walthour, 2022 U.S. Dist. LEXIS 72711 at *40 (granting partial

summary judgment on penalties and damages); Reliance Med. Sys., 2022 U.S. Dist.
LEXIS 31214, at *10–11 (granting partial summary judgment in an AKS case “with




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respect to the number of surgeries performed by [the physicians] and the number and
dollar amount of Medicare claims related thereto”).18

      The appropriate measure of damages is the entire amount of the Government’s
share of payments to Guardian for claims resulting from its kickback scheme, “as a
kickback renders a subsequent claim ineligible for payment.” ECF 63 at 39; see

Yates, 21 F.4th at 1304 (“[H]ad the defendant truthfully admitted that it was non-
compliant, the United States would not have paid” anything on the claims).
      Relator’s expert calculated that the Government sustained single damages of

$16,098,070 relating to Guardian’s submission of claims from January 1, 2014
through June 30, 2019 for prescription drugs for Medicare and TRICARE
beneficiaries who were residents of the 80 Communities. See SMF at ¶¶ 96–97.

Specifically, this loss amount reflects the Government’s share of the payments made
by Medicare Part D plans and Express Scripts for TRICARE to Guardian for the
relevant prescription claims. Id. As mandated by the FCA, the United States is
entitled to treble damages equal to $48,294,210 for the small subset of false claims




18
  Relator requests an opportunity to submit evidence supporting per-claim penalties.
See 31 U.S.C. § 3729. Relator’s damages expert identified hundreds of thousands of
claims for patients referred by the 80 Communities in this Motion. For violations on
or before November 2, 2015, the penalty range is $5,500 to $11,000 for each false
claim. 28 C.F.R. § 85.3. For violations after November 2, 2015, the range is $12,537
to $25,076. See 28 U.S.C. § 2461 note; 28 C.F.R. § 85.5.


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that Relator seeks summary judgment on at this time. See 31 U.S.C. § 3729(a)(l).19
This is not the entire extent of damages sustained by the Government due to

Guardian’s conduct, and represents only the damages for a subset of
80 Communities during a limited time frame. See supra n. 1.
IV.   CONCLUSION

      For the foregoing reasons, Relator respectfully requests that the Court enter
summary judgment in Relator’s favor on Count I with respect to Guardian’s claims
for residents of the 80 Communities, and award treble damages for the United States

in the amount $48,294,210, plus penalties to be determined at a later date.




19
  Relator shall receive a percentage of the proceeds of the action from the United
States, plus reasonable attorneys’ fees and costs, which shall be awarded against
Guardian. See 31 U.S.C. § 3730(d)(2).


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Dated: September 9, 2022    Respectfully Submitted,

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              CERTIFICATE OF SERVICE AND COMPLIANCE
      I hereby certify that on September 9, 2022, I electronically filed the foregoing

document, which was prepared in accordance with L.R. 7.1 using Times New Roman,
14-point font, with the Clerk of Court using the CM/ECF system, which will
automatically send email notification of such filing to all counsel of record.


                                 /s/ Joseph M. Callow, Jr.
                                 Joseph M. Callow, Jr.




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